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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
JAM:KCB/EJD/DEL/AMR                                 271 Cadman Plaza East
F. #2018R01984                                      Brooklyn, New York 11201


                                                    September 2, 2022

By E-mail and ECF

The Honorable Hector Gonzalez
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:     United States v. Shelton, et al.
                      Criminal Docket No. 18-609 (S-3) (HG)

Dear Judge Gonzalez:

             The government respectfully submits this letter in response to defendant
Anthony Zottola’s supplemental motion in limine to admit text message correspondence. See
ECF No. 464 (“Def Mot.”). Because the defendant fails to explain any basis supporting his
own admission of these messages, the Court should deny the motion.

              First, the defendant moves to preclude the government from “introducing expert
or opinion testimony that seeks to interpret the coded Shelton-Zottola conversations for the
jury.” Def. Mot. 1-3. The government does not intend to do so in its case in chief through
testimonial witnesses, but will of course argue the meaning of those messages in summation,
asking the jury to draw inferences of the coded text messages in evidence, alongside other
admitted evidence in the case. 1 And although the defendant asserts that the government
“cannot even introduce testimony interpreting specific code words repeated throughout the
text messages, such as ‘actor,’ ‘director,’ ‘taco,’ and ‘coffee,’ among others,” Def. Mot. 3, the
government can, of course, reference the jury to repeated uses of the same code and make
arguments from that, without providing interpretation through testimonial witnesses.

            Second, the defendant asserts that “[t]he government will seek to interpret the
coded Zottola-Shelton messages by contextualizing them among other selected

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        The government, however, reserves its right to do so should defense counsel open the
door on cross-examination or in a rebuttal case.
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contemporaneous communications Shelton had with others; Mr. Zottola is entitled to do the
same by introducing additional text messages sent or received by Shelton in this same
timeframe as non-hearsay.” Def. Mot. 4. The defendant misunderstands the rules of evidence.
As the government detailed at length in its motions in limine, the government intends to admit
a series of text message communications pursuant to the Federal Rules of Evidence—including
those governing statements of defendants and co-conspirators, statements against penal
interest, statements offered not for their truth but for their effect on the listener, questions or
commands generally not constituting statements, or statements that otherwise place admissible
statements into context. See Gov’t Mots. in Limine, ECF No. 400, at 4-7.

               In contrast, Zottola has identified no rule of evidence permitting him to admit
the text messages he seeks to introduce. See ECF No. 464, Ex. 2. As an initial matter, Zottola
does not argue that the government has failed to introduce portions of his own conversations
with co-conspirator Bushawn Shelton. Rather, Zottola seeks to introduce conversations
between Shelton and other individuals—despite identifying no hearsay exception and
providing no foundation to do so. See id. Specifically, in Exhibit 2, Zottola has highlighted
portions of text messages between himself and Shelton, which are included in government
exhibits as statements by a defendant and co-conspirator in furtherance of the conspiracy in
accordance with the Federal Rules of Evidence, and seeks to append conversations between
Shelton and other individuals for whom Zottola does not even attempt to identify a hearsay
exception allowing their admissibility.2 Zottola attempts to justify his attempt to introduce
inadmissible hearsay statements between Shelton and other individuals by asserting that it
provides “context” for the conversation between himself and Shelton. But none of the cases
cited by Zottola allow for the wholesale introduction of other people’s conversations under the
guise of “context.” Rather, each of the cases cited by Zottola pertain to portions of
conversations admissible as defendant or co-conspirator statements. See United States v.
Barone, 913 F.2d 46, 49 (2d Cir. 1990) (identifying no error in admission of recorded call
between defendant and informant where statements by informant during the call with the
defendant “establish[ed] a context for the recorded statements of the accused”); United States
v. Walker, No. 99-CR-379 (BSJ), 1999 WL 777885 (S.D.N.Y. Sept. 29, 1999) (same, as to
recording between the defendant and a cooperating inmate); United States v. Torres, 435 F.

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         The government has already marked as an exhibit and seeks to admit the messages
between the individual identified as “Mur B” in Exhibit 2—Branden Peterson, a charged co-
defendant of Zottola’s—and an additional text message between Shelton and Zottola not
highlighted in Exhibit 2 to the defense motion. The government attaches as Government
Exhibit A the highlighted portion of the defense Exhibit 2 that identifies the additional
messages that the government believes should be admitted as co-conspirator statements under
the Federal Rules of Evidence. In particular, the evidence at trial will establish that Peterson,
a co-defendant who has already pled guilty, worked with Shelton in executing the murder-for-
hire scheme, thus rendering their conversations regarding the plot admissible. For the same
reason identified in the government’s September 2, 2022 letter, the government respectfully
requests leave to file its exhibits to this letter under seal. See ECF No. 473, at 4.

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Supp. 3d 526, 533 (S.D.N.Y. 2020) (identifying portion of a call under Federal Rule of
Evidence 801(d)(2)(E) as co-conspirator statements and other testimony as co-conspirator
statements or, in the alternative, to provide context “or render other [admissible] statements
intelligible”).

               United States v. Perez, No. 05-CR-441 (PKL), 2005 WL 2709160 (S.D.N.Y.
Oct. 20, 2005), and United States v. Midyett, 256 F.R.D. 332 (E.D.N.Y. 2009), heavily cited
by Zottola, fare no better. See Def. Mot. 6-7. Perez authorized the government to admit a
conversation between a co-conspirator and an informant pursuant to Federal Rule of Evidence
801(d)(2)(E) and, because the co-conspirator’s statements were properly admitted pursuant to
that rule, the informant’s statements back and forth with the co-conspirator on the same
recording were necessary to place the co-conspirator’s statements on the recordings in context.
Perez, 2005 WL 2709160, at *2 (“Because the informant’s statements are offered solely to
place in context [the co-conspirator’s] statements, which themselves are admissible non-
hearsay pursuant to Rule 801(d)(2)(E) as statements by a co-conspirator of a party during the
course and in furtherance of the conspiracy, the informant’s statements are not hearsay.”). But
Zottola cannot benefit from this hearsay exception to introduce conversations between Shelton
and other people because—even if he could establish that those conversations were made
during and in furtherance of a conspiracy—that rule only allows such statements to be offered
against an opposing party. See Fed. R. Evid. 801(d)(2). He cannot offer them on behalf of
himself.

                Midyett upholds this principle. There, the government attempted to introduce a
video recording containing statements of the defendant and an informant (the “CI”) and a
separate conversation between the CI and an unidentified female (the “UF”) on the same video.
See 256 F.R.D. 332. The defendant challenged the admissibility of the latter, and the Court
determined that the separate conversation between the CI and the UF did not fall within any
hearsay exception and, thus, was inadmissible. Id. As particularly relevant here, Judge
Matsumoto in Midyett determined that although the government asserted that the conversation
between the CI and the UF was purportedly being offered as non-hearsay context for the
admissible conversation between the informant and the defendant, the government was in fact
offering it for its truth:

       The court also finds that the Drug Conversation between the CI and the UF is
       inadmissible hearsay. Indeed, notwithstanding the government’s bald
       contention that the Drug Conversation is simply not hearsay, one of the non-
       hearsay purposes for which the government proffers such evidence supports the
       court’s finding that the Drug Conversation is, in fact, being offered for the truth
       of the matter asserted and thus, is inadmissible hearsay. Namely, the
       government asserts that the Drug Conversation is being proffered to “make clear
       why Midyett and the CI agree on $42 as the price for the fourteen crack vials.”
       Considering, however, that the Drug Conversation proves the price charged by
       Midyett for the crack cocaine he allegedly sold and for which he is charged with
       distributing on December 7, 2006, the court is hard pressed to accept the
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       government’s contention that the Drug Conversation is not being offered for the
       truth of the matter asserted, i.e., that the UF was correct in informing the CI that
       Midyett charged “three bucks” for each vial of crack cocaine. Thus, as it is
       being offered for the truth of the matter asserted, the Drug Conversation
       constitutes hearsay and is inadmissible.

Id. (internal citations omitted). The same is true here. Zottola asserts the statements of Shelton
and other individuals are not being offered for their truth. However, to support his theory of
the relevance of those conversations, an analysis of their content and belief in the truth of the
matters asserted in those statements is necessarily required, i.e., that Shelton was in fact
engaging in business transactions with other individuals. Because Zottola himself cannot offer
the Shelton/other participant conversations under Federal Rule of Evidence 801(d), or any
other rule, and because they are plainly not hearsay context for otherwise admissible evidence
as found by the other courts considering this issue, the statements should be precluded. See
id. (finding Barone and its progeny “wholly inapplicable to the admissibility of the CI-UF
conversation”).

                 The portion of Midyett cited by the defense is misleading. See Def. Mot. 7-8.
That portion of the opinion did not deal with admissibility, but rather, assuming that that the
conversation between the CI and the UF was “not inadmissible hearsay”—which Judge
Matsumoto found it was—whether the conversation was even relevant. As to relevance,
Midyett outlined that, in addressing the admissibility of “evidence offered not for its truth . . .
[but] as relevant background,” courts should consider: (i) whether the background evidence
“contribute[s] to the proof of the defendant’s guilt”; (ii) “how important it is to the jury’s
understanding of the issues”; (iii) “[c]an the needed explanation of background be adequately
communicated by other less prejudicial evidence or by instructions”; and (iv) “[h]as the
defendant engaged in a tactic that justifiably opens the door to such evidence to avoid prejudice
to the government.” Id. Moreover, in considering the potential for unfair prejudice by the
introduction of such testimony, courts consider: (i) “[d]oes the declaration address an
important disputed issue in the trial” and whether “the same information [can be] shown by
other uncontested evidence”; (ii) whether “the statement was made by a knowledgeable
declarant so that it is likely to be credited by the jury”; (iii) whether the “declarant will testify
at trial, thus rendering him available for cross-examination” and, if so, “will he testify to the
same effect as the out-of-court statement”; and (iv) whether “curative or limiting instructions
effectively protect against misuse or prejudice.” Id.

               As in Midyett, “virtually every variable weighs against the admission” by
defendant Zottola of co-conspirator Shelton’s conversations with other people. First, Shelton’s
conversations with other people purportedly not being offered for their truth provide no import
to the jury’s understanding of the issues in this case. Indeed, even considering the statements
for their truth, they do very little as they are plainly irrelevant. Zottola asserts they are
“exculpatory” but provides no explanation for how that is the case. Rather, Zottola asserts that
the additional exchanges he highlights “reflect” that Shelton “carried on other business
transactions not connected to a murder-for-hire plot.” Def. Mot. 5. Indeed, certain of the
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conversations identified in Exhibit 2 have not even been reviewed by the government because
they were not identified as responsive to the search warrants in this case—plainly exposing
their irrelevance.3 But even on their face, they pertain to different topics during different time
frames. As Exhibit 2 highlights, Shelton is not texting defendant Zottola while texting others.
Rather, Shelton and Zottola exchange messages regarding Zottola pressuring Shelton to hurry
up; twenty minutes later Shelton exchanges messages with another individual regarding
meeting with that other individual; five hours later, Shelton exchanges text messages with an
individual whom Zottola does not even attempt to make a relevance showing. At
approximately 8:30 p.m., Zottola texted Shelton, “U good. Didn’t talk to you today. Just
seeing how fishing going.” Thus, far from establishing some sort of interplay or context,
Shelton declined to speak to Zottola for most of the day and in fact informed him that he had
“had to leave everything behind today.” See Ex. 2; Gov’t Ex. 1209. Indeed, their non-contact
on the day in question is further highlighted by a conversation between Zottola and another
phone often used by Shelton, but which a user purporting to be Takeisha Shelton (Bushawn
Shelton’s wife) used on that particular date. See Gov’t Ex. B. There, Zottola reached out at
approximately 9:37 p.m. asking “is my friend OK because I’m trying to reach him all day and
no answer,” to which the user purporting to be Takeisha Shelton responded, “[e]arlier he left
work earlier because he said he had an emergency changed clothes and went back out,” to
which Zottola responded, “OK I’ve been trying to call all day to see if our big job is going.
but as long as he’s OK thank you have a good night,” and then, a few minutes later, “I just
want to make sure he’s OK we don’t just work together he’s a friend of mine.” Id. As to
Shelton and Zottola’s subsequent conversation regarding Shelton being with the “blue joint4
all day today from the afternoon . . . I left work early today for this,” evidence from one of the
tracking devices connected to Shelton shows that the tracking device was stopped in the
vicinity of Shelton’s residence on March 24, 2018, and reactivated in the vicinity of the Bronx
at approximately 7 p.m. on March 28, 2018, where it began registering to locations associated
with Sylvester and Salvatore Zottola.

               As to the remainder of the Midyett factors, they all support disallowing the
inadmissible hearsay Zottola seeks to introduce. Regarding the “needed explanation of
background be adequately communicated by other less prejudicial evidence or by
instructions,” Zottola has already, and can at trial, point to Shelton’s sending and receiving
approximately 117,000 text messages during the relevant time period, and the government will
readily concede—and even elicit, should the defense want—that Shelton also used his phones
to speak about other matters. That Zottola seeks to introduce the content of those
communications only further highlights his attempts to admit inadmissible hearsay for its truth.

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         Should the Court for some reason admit these inadmissible and irrelevant hearsay
conversations between Shelton and other people, the government should be permitted to
introduce why it did not identify these conversations as responsive to the search warrant or as
relevant in this case.
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           Salvatore Zottola drove a blue car at the time.

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Zottola makes no showing that the government has “engaged in a tactic that justifiably opens
the door to such evidence to avoid prejudice,” given that he does not suggest that the
government has unfairly precluded portions of his own conversations with Shelton. And, of
course, in considering whether “the statement was made by a knowledgeable declarant so that
it is likely to be credited by the jury,” neither Shelton nor the other participants of the
conversations with Shelton are expected to testify at this trial, further highlighting how
unreliable these conversations are, particularly when no participant will be subject to cross-
examination. Finally, as Judge Matsumoto found in Midyett, “a curative and limiting
instruction would have little to no effect in eliminating the risk that the jury will improperly
consider the [inadmissible hearsay conversation] for its truth.” 256 F.R.D. 332. Accordingly,
as to relevance, the risk of unfair prejudice and confusion significantly outweighs any
probative value of the proffered text message conversations between Shelton and other people
for the proffered non-hearsay purpose of providing context.

               Finally, Zottola’s citation to Federal Rule of Evidence 106 does not provide a
basis to admit other individuals’ conversations that fall within no hearsay exception. See Def.
Mot. at 6 n.6. Under that rule, the “doctrine of completeness,” provides that “[i]f a party
introduces all or part of a writing or recorded statement, an adverse party may require the
introduction, at that time, of any other part—or any other writing or recorded statement—that
in fairness ought to be considered at the same time.” Fed. R. Evid. 106. The Second Circuit
has “interpreted [the doctrine of completeness] to require that a statement be admitted in its
entirety when this is necessary to explain the admitted portion, to place it in context, or to avoid
misleading the trier of fact, or to ensure a ‘fair and impartial understanding’ of the admitted
portion.” United States v. Marin, 669 F.2d 73, 84 (2d Cir. 1982) (quoting United States v.
Capaldo, 402 F.2d 821, 824 (2d Cir. 1968) (collecting cases)). This is true “even though a
statement may be hearsay.” United States v. Coplan, 703 F.3d 46, 85 (2d Cir. 2012) (quoting
United States v. Kopp, 562 F.3d 141, 144 (2d Cir. 2009)). The doctrine of completeness “does
not, however, require the admission of portions of a statement that are neither explanatory of
nor relevant to the admitted passages.” Kopp, 562 F.3d at 144. The statements Zottola seeks
to introduce achieve none of these aims and the Court should reject them for what they are—
attempts to offer irrelevant, inadmissible hearsay.

                “The rule of completeness is violated only where admission of the statement in
redacted form distorts its meaning or excludes information substantially exculpatory of the
declarant.” United States v. Thiam, 934 F.3d 89, 96 (2d Cir. 2019). That is not this case,
where the defendant concedes that the government has fairly included his own correspondence
with Shelton. See Def. Mot. at 1 n.1. Rather, courts have uniformly rejected attempts to
introduce separate conversations between separate individuals under the guise of the doctrine
of completeness. See, e.g., United States v. Aungie, 4. F4th 638, 647 (8th Cir. 2021) (rejecting
defendant’s attempt to “introduce specific text messages separate from the text conversations
admitted” because “the excluded texts were unnecessary to complete the context of the
included communications because they were not parts of the same conversation. The rule of
completeness serves as a fairness mechanism to ensure the jury is not misled by only admitting
part of a writing or recorded statement”); see also United States v. Blake, 195 F. Supp. 3d 605
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(S.D.N.Y. 2016) (holding that the completeness doctrine “is not a mechanism to bypass
hearsay rules for any self-serving testimony” and rejecting defendant’s attempt to offer her
own statements “offering an alternative theory of the evidence” because they were unnecessary
to “clarify or explain her statements” appropriately offered by the government under the
Federal Rules of Evidence).

               If Zottola seeks to “elucidate the meaning of the coded Zottola-Shelton
messages” as he asserts, see Def. Mot. at 5, he should testify subject to cross-examination. See
Blake, 195 F. Supp. 3d at 611 (in denying rule of completeness argument, Court determined
that the defendant “may, in presenting her case, testify subject to cross-examination about her
own knowledge relating to the admitted statements, provided such testimony is not unduly
speculative or otherwise barred under evidentiary rules,” but rejecting defendant’s attempt to
offer testimony otherwise barred under Federal Rule of Evidence 802).

               Because courts have categorically and uniformly rejected the same arguments
being made by Zottola, the Court should similarly reject his attempts to offer inadmissible,
irrelevant hearsay here.5




       5
         Should the Court disagree, the Court should require Zottola to provide the government
with the remainder of his purportedly exculpatory messages that he claims the government did
not “select” immediately, given that he misrepresented to the Court that certain messages in
Exhibit 2 were not included in the government’s exhibits, when they in fact were. Such a
procedure would also ensure that the trial can proceed expeditiously, rather than cause delay
each time the defendant seeks to introduce self-serving messages so that the government can
evaluate whether they fairly represent what they purport to.

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                                     CONCLUSION

             For the reasons set forth above, the government respectfully submits that the
defendant’s motion is without merit and should be denied.

                                                Respectfully submitted,

                                                BREON PEACE
                                                United States Attorney

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Enclosures
cc:   Clerk of Court (HG) (By ECF) (without enclosures)




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